                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                     CENTRAL DIVISION
                                        FRANKFORT


JUDICIAL WATCH, INC.,                              )
                                                   )
       Plaintiff,                                  )
                                                   )
UNITED STATES OF AMERICA,                          )
                                                   )                 Civil No. 3:17-cv-00094-GFVT
       Plaintiff-Intervenor,                       )
                                                   )
       v.                                          )
                                                   )
ALISON LUNDERGAN GRIMES, et al.,                   )
                                                   )
       Defendants.                                 )

        ALISON LUNDERGAN GRIMES’ RESPONSE TO JUDICIAL WATCH’S
         MOTION TO MODIFY AND ENFORCE THE CONSENT JUDGMENT

       Defendant, Alison Lundergan Grimes, in her official capacity as the Secretary of State of

the Commonwealth of Kentucky (the “Secretary of State”), by counsel, for her response in

opposition to the Motion to Modify and Enforce the Consent Judgment filed by Plaintiff, Judicial

Watch, Inc. (“Judicial Watch”) (DE 45), states as follows.

                                        INTRODUCTION

       Judicial Watch, with the support of Plaintiff-Intervenor United States of America (the

“United States”), seeks to modify and “enforce” the Consent Judgment entered by this Court on

July 3, 2018 (the “Consent Judgment,” DE 39). The motion should be overruled because it is

premature, seeks an advisory opinion on matters that are not in controversy, misstates the position

of the Secretary of State, and is factually and legally incorrect.

       Judicial Watch and the United States have known since July 31, 2018—at the latest—that

the SBE could not send the notices required by Section 8(d)(2) of the National Voter Registration
Act (the “Section 8(d)(2) Notices”) by August 8, 2018, which was the last day before the 90-day

quiet period leading up to the 2018 federal general election. But Judicial Watch and the United

States waited until October 2019—months after the Section 8(d)(2) Notices were sent in June

2019, and the same day the Kentucky Democratic Party filed a lawsuit in Kentucky state court

challenging the SBE’s maintenance of an illegal “inactive” voter list—to move this Court to extend

the Consent Judgment on the grounds that the Notices should have been sent back in August 2018.

Judicial Watch and the United States are simply wrong that the Consent Judgment required the

Section 8(d)(2) Notices to be sent in August 2018, and have used their briefs as an opportunity to

needlessly reference false accusations made by Jared Dearing, the Executive Director of the SBE,

against the Secretary of State, and to misrepresent the Secretary of State’s actions and legal

positions in other lawsuits that have no bearing on the Consent Judgment or the instant case.

Judicial Watch’s motion is nothing more than a request for an advisory opinion on hypothetical

legal issues that are not ripe for decision under any circumstances, much less here, where the Court

is limited to applying contract principles to the plain language of the Consent Judgment.

       Judicial Watch’s motion is premature because the term of the Consent Judgment—which

runs through October 31, 2023—may only be extended if the “Court determines that the

Defendants have not achieved substantial compliance with its terms.” Here, the Secretary of State

and the SBE (the “SBE”) mailed all required Section 8(d)(2) Notices in June 2019, additional

Section 8(d)(2) Notices will go out in 2020, and two federal general elections will have occurred

as of the day after the November 2022 federal general election. Moreover, additional Section

8(d)(2) Notices will go out in 2021, 2022, and 2023—all during the duration of the Consent

Judgment. In 2023, if Judicial Watch and the United States feel that the SBE has not “substantially

complied” with the Consent Judgment, the Court could hold the requisite evidentiary hearing and




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make the findings of fact at that time. Evaluation of Defendants’ compliance with the Consent

Judgment prior to 2023 is premature.

       Judicial Watch’s motion is also premised on an outright misstatement of the Secretary of

State’s interpretation of federal and Kentucky law. The Secretary of State has never stated a

position to Judicial Watch or the United States on whether voters who receive a Section 8(d)(2)

Notice and who do not thereafter vote or appear to vote for two federal general elections are subject

to immediate removal by the SBE. The Secretary of State’s position in the lawsuit brought by the

KDP in Franklin Circuit Court (the “KDP Lawsuit”) was to contest the SBE’s illegal removal of

eligible voters from the list of active registered voters and imposition of illegal barriers to vote. In

Franklin Circuit Court, Judicial Watch and the United States supported the illegal removal of

voters and the illegal barriers to vote, and suggested that the state court lawsuit would interfere

with this case. The Franklin Circuit Court agreed that the Secretary of State’s interpretation of the

law was correct, and rejected the notion that the KDP Lawsuit interfered with this matter. In any

event, the issues in the KDP Lawsuit concerned a state election to which the NVRA—and thus the

Consent Judgment—does not apply.

       Also contrary to the hearsay representations in the briefs of Judicial Watch and the United

States, the Secretary of State has never contended that voters who do not respond to Section 8(d)(2)

Notices should be treated differently from those voters whose Section 8(d)(2) Notices are returned

undeliverable. Judicial Watch’s and the United States’ contentions are based on inadmissible

hearsay and do not give rise to a justiciable controversy. Indeed, the issue of how to treat or process

the returned and non-returned Section 8(d)(2) Notices is not expressly addressed in the Consent

Judgment. The allegations are also factually nonsensical as the Secretary of State did not—by




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design of House Bill 114—have control over the operations of the SBE at the time of the alleged

statements.

       For the foregoing reasons, and as set forth in further detail below, there is no cause to

extend or modify the Consent Judgment. Accordingly, Judicial Watch’s motion should be denied.

                                  FACTUAL BACKGROUND

I.     Procedural History.

       On November 14, 2018, Judicial Watch filed a Complaint alleging the Secretary of State

and the SBE violated Section 8 of the NVRA. (See DE 1, Complaint, at 14.) More specifically,

Judicial Watch sought a declaratory judgment that the Secretary of State and the SBE were in

violation of Section 8(a)(4) of the NVRA and ordering the Secretary of State and the SBE to

develop and implement a general program that makes a reasonable effort clean up Kentucky’s

voter rolls to remove the registrations of ineligible registrants. (See id., at 14.) On June 12, 2018,

the United States moved to intervene, DE 32, and the parties filed an agreed Consent Judgment.

(DE 33.) The Court entered the Consent Judgment on July 3, 2018. (See DE 39.)

II.    The Consent Judgment.

       The parties agreed that voter list maintenance had occurred in Kentucky. Specifically,

Judicial Watch and the United States agreed as follows: “The Kentucky State Board of Elections

maintains and follows a registration removal program that since 2011, has removed 424,429

individuals from Kentucky’s voter rolls due to an individual’s death, felon status, mental

incompetence, move out of state with their written confirmation, or at their request.” (DE 39, at ¶

28.) Judicial Watch and the United States also agreed that “[t]he Kentucky State Board of Elections

ha[d] been unable to secure sufficient funding to implement its list maintenance procedures as to

registrants who have moved … despite seeking funding from the General Assembly in every




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budget request since 2008.” (Id., at ¶ 28.) As such, it was agreed by all parties that the reason the

“practices currently in place in Kentucky d[id] not comply with the NVRA’s requirement that

states conduct a general voter registration list program” was not necessarily due to a lack of desire

to implement the necessary procedures, but “due to this lack of funding.” (Id., at ¶ 29.) There was

no agreement or any court finding that the Secretary of State ever violated the NVRA.

          A.     Voter List Maintenance.

          The Consent Judgment stipulates that Section 8 of the NVRA provides two circumstances

under which a registrant may be removed because the registrant has moved to another jurisdiction.

(Id., at ¶¶ 15-17.) First, a state can remove a registrant from the voter registration list because of

“a change of residence based on the registrant’s written confirmation of a change of address to a

location outside of the registrar’s jurisdiction” pursuant to 52 U.S.C. § 20507(d)(1)(A). (Id., at ¶

16.) Second, a state can remove a registrant if (a) the registrant fails to respond to a Section

8(d)(2) Notice which includes a postage prepaid and preaddressed return card sent by forwardable

mail, on which the registrant may state his or her current address, and which contains specific

instructions and information, and (b) the registrant then fails to vote or appear to vote during the

period ending on the day after the second federal general election subsequent to the Section

8(d)(2) Notice being sent. (Id., at ¶ 17.) (emphasis added). The parties also stipulated to similar

provisions of Kentucky law set forth in KRS 116.112(1). (Id., at ¶ 24.)

          The United States and Judicial Watch also agreed that Kentucky law permits only those

registrants who do not respond to the notice and do not vote or appear to vote for two federal

election cycles, to be included on an inactive list. Specifically, Judicial Watch and the United

agreed:

          As part of its list maintenance program, the Kentucky State Board of Elections is
          required by state law to maintain an inactive list. State law provides that when the



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       State Board sends the notices described in KRS § 116.112(3) to registrants
       identified as having moved to a new county or state, the registrants who do not
       respond to the notice and do not vote or appear to vote for two federal election
       cycles are maintained on an inactive list. KRS § 116.112(5). When the State Board
       last sent such notices in 2009, those registrants who did not respond to the notice
       and did not vote or appear to vote for two federal election cycles were included on
       an inactive list and ultimately 67,743 individuals were removed from the
       registration list.

(Id., at ¶ 25) (citing KRS § 116.112(5).) Judicial Watch and the United States now take positions

directly contrary to the express language of the Consent Judgment.

       B.      The Comprehensive Plan.

       The Consent Judgment requires the SBE to develop a Comprehensive Plan for its voter list

maintenance program. (DE 39, at ¶ 31.) The Comprehensive Plan must include “[p]rocedures for

a general program of list maintenance for registrants who may have become ineligible due to a

change of residence that has not been reported to election officials” and “procedures that can be

implemented in 2018 (bearing in the mind the 90-day quiet period before federal elections.)”

(Id., at ¶ 34(a)) (emphasis added).

       Consistent with federal and Kentucky law, the Consent Judgment requires the SBE to base

removals due to a change in residence only on either: (1) the registrant’s written confirmation of a

change of address outside the jurisdiction; or (2) the registrant (a) failing to respond to a

forwardable notice sent by the Kentucky State Board of Elections or its designee, which meet the

requirements of section 8(d)(2) of the NVRA and KRS 116.112(3) and (b) failing to vote or

appear to vote during the period ending on the day after the second federal general election

subsequent to the notice began. (Id., at ¶ 31(e).)

       The Consent Judgment required that “[w]ithin 45 days of the effective date of the Agreed

Order, the [SBE] shall provide counsel for the parties with its draft of the Comprehensive Plan.”

(Id., at ¶ 33.) The parties were given thirty days to respond. If the parties could not “in good faith”



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agree upon the terms of the appropriate plan within thirty days of the latest response, “the parties

may seek a resolution from the Court.” (Id., at ¶ 33.) Thus, under the terms of the Consent

Judgment, the draft Comprehensive plan would not be exchanged until after the beginning of the

2018 “quiet period.”

       C.      Timing of Canvass and Section 8(d)(2) Notices.

       Paragraph 34(c) states that the Comprehensive Plan must include “the expected date(s)

between May 23 and August 8, 2018, on which the canvass mailing will be sent. Where such

nonforwardable canvass mailing is returned as undeliverable with or without forwarding address,

this would include procedures for moving ahead during the time period between May 23 and

August 8, 2018 as set forth in subparagraphs (d)(i), d(ii), and (e) below.” (DE 39, at ¶ 34(c).)

Paragraph 34(e) states that the Comprehensive Plan must include “[t]he expected date(s) between

May 23 and August 8, 2018 when notices will be sent under sections 8(c)(1)(B)(i) or 8(d)(2) of

the NVRA . . . and the expected timeframes in future years (not within 90 days of an upcoming

primary or general election for federal office) when such notices will be sent and updates carried

out.” (Id., at ¶ 34(e).) The timing requirements set forth in Paragraph 34 are contingent upon having

a Comprehensive Plan in place. In the event a Comprehensive Plan was not in place, Paragraph 33

of the Consent Judgment controlled. That paragraph states that “[t]he [SBE] will proceed with the

actions described in subparagraph 34(c) below regarding a canvass mailing in the stated

timeframes regardless of whether a Comprehensive Plan is in place.” (Id.) Thus, in the event a

Comprehensive Plan was not in place, SBE was only required to proceed with the canvass mailing

before August 8, 2018.

       Presently, there is still no Comprehensive Plan in place. The United States and Judicial

Watch have been in possession of the latest draft of the SBE Comprehensive Plan since September




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4, 2019. They have not provided any comments on the draft to counsel for the Secretary of State

since that date. The Secretary of State will likely have substantive input on the version of the draft

Comprehensive Plan that results from the review of Judicial Watch and the United States.

II.    Communications between Judicial Watch, DOJ, the SBE, and the Office of the
       Secretary of State.

       Six days after entry of the Consent Judgment, DOJ’s David Cooper emailed Jennifer

Scutchfield, Assistant Executive Director and General Counsel of the SBE, asking if she “ha[d]

any updates on revisions to the postcard or on [] procedures for processing the returned canvass

cards.” (DE 55-8, Cooper Emails with Scutchfield, July 9, 2018, at 2:14 pm.) Scutchfield

responded that she had been “asked to have all communications go through our legal counsel.”

(Id., at 4:45 pm.) It is highly inappropriate for the United States to criticize the SBE for utilizing

outside counsel after the United States filed suit against it. There can be no adverse inference that

results from the decision of SBE to utilize outside counsel and to enforce the ethical prohibition

of direct contact by opposing counsel with a represented client.

       On July 31, 2019, outside counsel for the SBE, Luke Morgan, and DOJ attorney John Russ

had a phone call in which Morgan explained that the SBE did not agree that the Consent Judgment

required the SBE to send out the Section 8(d)(2) Notices before August 8, 2018—the start of the

“quiet period” leading to the November 2018 election. (See DE 55, United States Statement in

Support of Judicial Watch’s Motion, at 8-9.) The United States did not challenge the SBE’s

position. (See DE 45-6, October 11, 2018 Letter from Morgan to Popper and Russ.)

       The “quiet period” started on August 8, 2018. On August 17, 2018, the SBE circulated its

draft Comprehensive Plan to both Judicial Watch and the United States as required by the Consent

Decree. On September 17, 2018, 30 days later, Judicial Watch and the United States responded,

claiming that the SBE “fail[ed] to send 8(d)(2) notices before the current ‘freeze’ period” and that



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the “proposed plan f[ell] short of the clear and detailed set of procedures contemplated in the

agreed order.” (See DE 45-4, Judicial Watch’s September 17, 2018 Response, at 1; DE 45-5, DOJ

September 17, 2018 Response, at 1.) Judicial Watch cited the unfounded allegations by SBE

Executive Director Jared Dearing “that Secretary Grimes instructed him to stop processing the

responses to nonforwardable mailings, or (through subordinates) to ‘slow walk’ them,” and

claimed it was working on an order of contempt and wanted to extend the Consent Judgment. (See

DE 45-4, Judicial Watch’s September 17, 2018 Response, at 2.)

        Morgan responded to letters from Judicial Watch and the United States on October 11,

2018. In his letter, Morgan communicated that the SBE disagreed with Judicial Watch’s and the

United States’ position that the Consent Judgment required the Section 8(d)(2) Notice to be sent

by August 8, 2018. (See DE 45-6, October 11, 2018 Morgan letter.) Morgan noted that the SBE

sent an initial post card canvass mailing to 617,005 registered voters in May of 2018, that postcards

were still being returned long after the quiet-period began on August 8, and that, as such, “[i]t

would be manifestly unfair to have an arbitrary line drawn between Kentucky’s voters based only

upon when the SBE received these postcards.” (Id., at 2.) Morgan affirmed “the SBE generally

agrees with the parties on what the law states, however, the SBE will not rush to needlessly

disenfranchise thousands of Kentucky voters.” (Id.) In reference to removals, Morgan agreed that

“the clock starts running” on removal after the passage of the requisite two federal general

elections the day the Section 8(d)(2) Notice is sent. (Id., at 5.)

        The parties had a telephone call on October 16, 2018 to work out differences regarding the

canvass mailers and Comprehensive Plan. On October 17, 2018, DOJ sent a letter reiterating

concerns regarding “both the SBE’s failure to implement required follow-up to the June 2018

canvass mailing and the SBE’s development of a comprehensive list maintenance plan.” (DE 45-




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7, Department of Justice Letter, October 17, 2018, at 1.) DOJ threatened to seek resolution from

the Court since “good faith attempts to resolve [their] concerns” had not worked, and suggested it

may seek to extend the Consent Judgment to cover an additional federal election. (Id.) The parties

agreed to stay communications until after the November 2018 election.

       After the November 2018 election, the parties continued to discuss the canvass mailing

follow up, including the Section 8(d)(2) Notice. The parties still could not agree on the

Comprehensive Plan, and the SBE indicated it could not send Section 8(d)(2) Notices before

February 20, 2019, the start of the quiet period leading up to the May 2019 primary. As of May

2019, the parties had not yet agreed on the language in the Section 8(d)(2) Notices.

       In May 2019, the parties were discussing the language that would be included in the Section

8(d)(2) Notices. In an email on May 28, 2019, in response to Scutchfield, Morgan stated “I think

it incorrect under KY or federal law to say that upon sending the second mailing a voter will

automatically be marked inactive. KRS 116.112(5) states the process by which a voter becomes

inactive.” (DE 45-8, May 28, 2019 Morgan email at 4:01 p.m.) Morgan’s email was consistent

with the parties’ agreement in Paragraph 25 of the Consent Judgment. Scutchfield maintained that

“[t]he easiest way from a developer standpoint is to mark the voter inactive upon sending the

8(d)(2) mailer.” (Id., May 28, 2019 Scutchfield email at 4:10 p.m.) Counsel for the Office of the

Secretary of State agreed with Morgan on how these issues should be interpreted, stating,

       KRS 116.112 (5) only permits a voter to be designated as inactive if the voter fails
       to respond to the notice described in KRS 116.112(3) and fails to appear to vote for
       two federal general elections after the notice goes out. See KRS 116.112(5).
       Whether complying with the law is easy for the “developer” is irrelevant. The law
       should be complied with, and the memo should be corrected as soon as possible. I
       have never agreed on any of the calls that we should not comply with the law.

(Id., May 29, 2019 Meyer email at 4:24 p.m.). Judicial Watch disagreed, maintaining that a voter

becomes inactive “while the clock is still ticking” for removal. (Id., May 29, 2019 Popper email at



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4:38 p.m.) The United States took the position that the “the NVRA and our consent judgment do

not specify whether or when ‘inactive’ status should be applied to registrants who are mailed a

section 8(d)(2) notice,” but that SBE must “keep track of the registrants who receive the mailing .

. . and ensure that any registrant who is mailed such a notice, does not respond to it, and does not

vote or appear to vote or otherwise have contact with election officials through two federal general

elections is removed from the voter registration list.” (Id., May 29, 2019 DOJ email at 5:20 p.m.)

The United State contradicts this position in its recent filing. The parties thereafter had a phone

call in which they agreed that “once an 8(d)(2) notice is sent and two consecutive general federal

elections take place without voter activity, a voter registration becomes subject to immediate

cancellation” and that SBE could place a “tag” on voters’ computer records to allow SBE to “track

whether they vote or update their records after being sent an 8(d)(2) notice, to indicate whether a

voter needs to affirm an address prior to voting, and ultimately to indicate when two general federal

elections have elapsed so that a registration becomes subject to cancellation.” (Id., June 3, 2019

Morgan email at 5:18 p.m.)

        On June 14, Scutchfield sent an email with the sample Section 8(d)(2) Notice postcard.

Counsel for the Office of the Secretary of State disagreed with the form of the postcard and

reiterated that “if a person did not change his or her residence, it would not be appropriate to place

a voter on a list of inactive voters.” (DE 45-9, June 14, 2019 Meyer email at 10:07 a.m.) The parties

discussed this disagreement on a call, and the SBE mailed out the Section 8(d)(2) Notices in June

2019.

III.    SBE Improperly Excludes Voters From The List Of Registered Voters.

        In August of 2019, the Kentucky Democratic Party (“KDP”) requested voter registration

data from the SBE and compared it with voter registration data from April of 2019. (DE 45-10,




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September 16, 2019 KDP Letter to SBE.) In April of 2019, the voter registration data contained

3,421,795 registered Kentucky voters. However, the voter registration data obtained by the KDP

in August 2019 indicated a drastic change in registered Kentucky voters to 3,259,076 – a difference

of 162,719 registered voters. (Id.) The registration statistics located on the SBE website indicated

this illegal removal of voters occurred in July of 2019. (Id.) In response, the KDP filed an Open

Records Request to the SBE for voters marked inactive in the voter file. (Exhibit _, KDP Letter to

SBE September 16, 2019.) Scutchfield responded with “a list of 165,709 voters who ‘must update

their information within two federal election cycles (November 2022).’” (Id. at 2.)

       The KDP wrote a demand letter to the SBE requesting the “immediate[] reactivat[ion] of

the registrations of more than 150,000 Kentuckians who were improperly placed on an ‘inactive

list’ in violation of KRS 116.112 and removed from the official voter registration statistics and

voter registration data provided to the KDP.” (Id.) When this proved unfruitful, the KDP filed a

Complaint against both the SBE and Secretary of State for injunctive relief and a declaration of

rights in order to reinstate the registrations of the 150,000 voters who had been illegally removed.

(See DE 45-13, KDP Complaint.)

       In Franklin Circuit Court, the Secretary of State opposed the SBE’s illegal removal of

eligible voters from the voter rolls and the imposition of illegal barriers to vote. The Complaint

filed by the KDP alleged that, despite the express agreement to place a tag on the status of a

registered voter, the SBE removed voters from the registration list and placed them on an inactive

list. (Id. at 8.) The Secretary of State agreed that KRS 116.112 requires failure to vote in “two

federal elections by law” before placing a voter on an inactive list. (See id. at 11.) The Secretary

of State agreed that there was an “explicit agreement to not strip voters from the Master List” and

that the SBE’s actions “disadvantage[d] [] more than 175,000 illegally culled Kentucky voters.”




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(See id. at 7, 13.) On October 11, 2019, the United States filed an “emergency motion” for leave

to participate in the KDP Lawsuit as an amicus and to file a statement of interest. Judicial Watch

did not move for leave to appear in the KDP Lawsuit, but its counsel was present and permitted to

state its position at the October 14, 2019 hearing in the Franklin Circuit Court.

       The Franklin Circuit Court held a hearing on October 14, 2019 and subsequently granted

the KDP’s motion for an injunction. (See DE 55-19, Franklin Circuit Court Order October 14,

2019.) In doing do, the Court expressed “utmost concern” for “the chilling effect raised by the

[KDP] that the actions of the State Board of Elections will cause Kentucky voters placed on the

separate list.” (See id. at 4.) The Court went on to say

       Not every voter has the luxury of waiting for a possibly lengthy period of time to
       jump through unnecessary hoops when the State Board of Elections’ intent can be
       achieved through simpler, less prejudicial means such as placing an asterisk by the
       names of the 175,000 voters on the Master Voter List and having poll workers
       confirm each voters’ address


(See id. at 5.) While the SBE tried to argue to the contrary, the Court found the “best practice to

ensure a just and fair election … is to … utilize one (1) Master List and place an asterisk by the

necessary names of voters to alert poll workers to confirm the voters’ address.” (See id. at 7.)

                                      LEGAL STANDARD

       “It is widely recognized that a consent decree is to be construed for enforcement purposes

basically as a contract and interpreted by reference to the four corners of the document itself.”

Landrum v. Bd. of Regents, Case No. 90-475, 1992 U.S. Dist. LEXIS 13466, at *30 (E.D. Ky. Feb.

26, 1992) (internal citations omitted.) “Reference to extrinsic evidence, such as the circumstances

of formation, is permissible only if the order is ambiguous in some respect.” Id. (quoting Robinson

v. Vollert, 602 F.2d 87, 92 (5th Cir. 1979)). Similar to construing a contract, a consent decree

should be “strictly enforced according to its own terms, absent ambiguity.” Id. at *30-31. As such,



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“[a] court is not entitled to expand or contract the agreement of the parties as set forth in the decree

and must give the explicit language of the decree great weight.” United States v. Int'l Bhd. of

Teamsters, 141 F.3d 405, 408 (2d Cir. 1998).

        Although District Courts may be flexible in the modifying of consent judgments, it is not

warranted in all circumstances. See Rufo v. Inmates of Suffolk Cty. Jail, 502 U.S. 367, 383-84

(1992). “In the Sixth Circuit, ‘modification of a consent decree requires a complete hearing and

findings of fact.’” Ne. Ohio Coal. for the Homeless v. Husted, No. 2:06-CV-896, 2013 U.S. Dist.

LEXIS 109609, at *10 (S.D. Ohio Aug. 5, 2013) (quoting Vanguards of Cleveland v. City of

Cleveland, 23 F.3d 1013, 1017 (6th Cir. 1994)). Importantly,

        a party seeking modification of a consent decree bears the burden of establishing
        that a significant change in circumstances warrants revision of the decree. If the
        moving party meets this standard, the court should consider whether the proposed
        modification is suitably tailored to the changed circumstance. A party seeking
        modification of a consent decree may meet its initial burden by showing a
        significant change either in factual conditions or in law. Modification of a consent
        decree may be warranted when changed factual conditions make compliance with
        the decree substantially more onerous.

Rufo, 502 U.S. at 383-84.

                                            ARGUMENT

I.      Modification of the Consent Judgment is Not Ripe for Review Because the Court
        Cannot Yet Determine Whether the Defendants have Achieved Substantial
        Compliance.

        The Court can only modify or extend the termination date of the Consent Judgment if it

“determines the Defendants have not achieved substantial compliance with its terms.” (DE 39,

Consent Judgment, at 17.) “[T]he basic rationale of the ripeness doctrine ‘is to prevent the courts,

through premature adjudication, from entangling themselves in abstract disagreements.’” NRA of

Am. v. Magaw, 132 F.3d 272, 284 (6th Cir. 1997) (quoting Thomas v. Union Carbide Agricultural

Products Co., 473 U.S. 568, 580 (1985)). “In determining whether a claim is ripe, the Sixth Circuit



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has considered the following factors: ‘(1) the likelihood that the harm alleged will ever come to

pass; (2) whether the factual record is sufficiently developed to allow for adjudication; and, (3)

hardship to the parties if judicial review is denied.’" United States ex rel. Mich. Nat. Res. Comm'n

v. Wayne Cty., 280 F. Supp. 2d 726, 730 (E.D. Mich. 2003) (quoting Norton v. Ashcroft, 298 F.3d

547, 554 (6th Cir. 2002)).

       At this point, it is premature for the Court to determine whether the Consent Judgment

should be modified. The SBE has drafted a draft Comprehensive Plan. The United States and

Judicial Watch continue to review it and, presumably, will suggest revisions. Section 8(d)(2)

notices were mailed to Kentucky voters in June of 2019. The SBE will send more Section 8(d)(2)

notices in 2020, 2021, 2022, and 2023. In 2022, two Federal elections will have passed since the

mailing of Section 8(d)(2) Notices in 2019 and 2020. The Consent Judgment will remain in effect

during the removal of voters from the voter registration list in 2022. As such, only in 2023 will the

Court truly be able to evaluate whether the SBE has substantially complied with the terms of the

Consent Judgment, which is a necessary prerequisite to its extension. If, at that time, the Plaintiffs

feel the Defendants are not in substantial compliance with the Consent Judgment, the Court can

hold the evidentiary hearing the Defendants are entitled to and make any requisite findings

regarding its’ modification. Accordingly, Plaintiffs’ request for modification is not ripe for review.

A determination of whether to extend the Consent Judgment should occur in 2023.

II.    The SBE Did Not Violate The Consent Judgment Because The Consent Judgment Did
       Not Require Section 8(d)(2) Notices To Be Sent Before August 8, 2018.

       Judicial Watch and the United States assert that extension of the Consent Judgment is

necessary because the SBE failed to send Section 8(d)(2) Notices prior to August 8, 2018.

However, the plain language of the Consent Judgment required only that the SBE perform a

canvass mailing by August 8, 2018 and that the SBE propose a draft Comprehensive Plan within



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forty-five days of entry of the Consent Judgment. The SBE complied with both of these

obligations. Therefore, no breach of the Consent Judgment occurred.

        The Consent Judgment contains provisions related to the timing of the canvass mailing,

Section 8(d)(2) Notices, and other notices that the SBE was required to include within its draft

Comprehensive Plan. Paragraph 34(c) states that the Comprehensive Plan must include “the

expected date(s) between May 23 and August 8, 2018, on which the canvass mailing will be sent.

Where such nonforwardable canvass mailing is returned as undeliverable with or without

forwarding address, this would include procedures for moving ahead during the time period

between May 23 and August 8, 2018 as set forth in subparagraphs (d)(i), d(ii), and (e) below.” (DE

39, at ¶ 34(c).) Paragraph 34(e) states that the Comprehensive Plan must include “[t]he expected

date(s) between May 23 and August 8, 2018 when notices will be sent under sections 8(c)(1)(B)(i)

or 8(d)(2) of the NVRA . . . and the expected timeframes in future years (not within 90 days of an

upcoming primary or general election for federal office) when such notices will be sent and updates

carried out.” (Id., at ¶ 34(e).)

        The timing requirements set forth in Paragraph 34, however, are contingent upon having a

Comprehensive Plan in place. In the event a Comprehensive Plan was not in place, Paragraph 33

of the Consent Judgment controlled. That paragraph states that “The [SBE] will proceed with the

actions described in subparagraph 34(c) below regarding a canvass mailing in the stated

timeframes regardless of whether a Comprehensive Plan is in place.” (Id.) Thus, in the event a

Comprehensive Plan was not in place, SBE was only required to proceed with the canvass

mailing before August 8, 2018. SBE was not required to proceed with any other mailings,

including the Section 8(d)(2) Notices, until a Comprehensive Plan was in place. This made sense

in light of the fact that forty-five days after the entry of the Consent Judgment (July 3, 2019) was




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after the beginning of the “quiet period.” There was simply not enough time to comply with the

requirements of the Consent Judgment and send the Section 8(d)(2) Notices within thirty-six days.

This is demonstrated by the inability of the SBE to gather the information necessary to send the

Section 8(d)(2) Notices out before the 2019 primary and the length of time necessary to agree to

the language of the Section 8(d)(2) Notices. The SBE was not required to submit a draft

Comprehensive Plan until forty-five days of entry of the Consent Judgment. (See id., at ¶ 33.) The

Consent Judgment was not entered until July 3, 2018, meaning that SBE’s draft Comprehensive

Plan was not due until August 17, 2018.

       Thus, Judicial Watch and the United States understood at the time the Consent Judgment

was entered that the timing requirements related to the Section 8(d)(2) Notices would not spring

into existence until August 17, 2018 at the earliest and, therefore, that Section 8(d)(2) Notices

would not be sent by August 8, 2018. The SBE sent a canvass mailing in May of 2018 to

approximately 617,005 registered voters, fulfilling the only other requirement of the Consent

Judgment in the absence of an agreed-upon Comprehensive Plan.

       That the Consent Judgment would not require the SBE to rush to send Section 8(d)(2)

Notices before a Comprehensive Plan was in place and before the beginning of the quiet period on

August 8, 2018—a mere 36 days after the Consent Judgment was entered—was also consistent

with the timing of the canvass mailing and the non-discrimination provision of the Consent

Judgment. The Consent Judgment requires that “[p]rograms to maintain accurate and current voter

registration lists must be uniform and nondiscriminatory . . . .” (DE 39, at ¶ 11.) Here, the SBE

was still receiving responses to the May 2018 canvass mailing well after August 8, 2018. It would

have violated the nondiscrimination provision of Consent Judgment (and caused an undue

administrative burden) for the SBE to send Section 8(d)(2) Notices to those voters for whom the




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canvass mailing was already returned as non-deliverable—and thereby trigger the two federal

general election deadline—while waiting to do the same for those voters whose canvass card was

still outstanding. It was not the intention of the Consent Judgment to disparately treat individuals

within the group of voters who were sent a canvass mailing at the same time.

           The Consent Judgment only required that the SBE perform a canvass mailing by August

8, 2018 and that the SBE propose a draft Comprehensive Plan within forty-five days of entry of

the Consent Judgment. The SBE met both of these deadlines. Accordingly, there was no breach of

the Consent Judgment and Judicial Watch’s motion to extend and amend the Consent Judgment

should be denied.

III.       The Secretary Of State Has Not Contended That Voter Registrants Who Do Not
           Respond to a Section 8(d)(2) Notice and Fail to Vote in Two Subsequent Federal
           Elections Should Not Be Removed from the Voter Registration Rolls.

           The Secretary of State, contrary to the Plaintiffs’ assertions, has never contended that voter

registrants should not be removed from the voter registration rolls after receiving a Section 8(d)(2)

Notice and failing to vote or appear to vote in two Federal elections. In the KDP’s lawsuit, the

Secretary of State contested the SBE’s illegal removal of eligible voters from the voter rolls and

the imposition of illegal barriers to vote. This position was in no way inconsistent with the Consent

Judgment or NVRA.1 The Secretary of State agrees that—as set forth by the NVRA, Kentucky

law, and the Consent Judgment— an individual who received a Section 8(d)(2) Notice and fails

to vote or appear to vote in two federal elections is subject to removal from the voter registration

list. (See DE 39, at ¶ 31(e).)

           The Secretary of State disagrees with Judicial Watch, the United States, and the SBE as to

the correct the interpretation of both federal and Kentucky law regarding the maintenance of an



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    The NVRA was not applicable because the lawsuit was brought pursuant to a state election.


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inactive list.2 KRS 116.112 requires that an “inactive list” may only consist of voters who “fail to

respond to the notice described in subsection (3) of this section [regarding out-of-county moves]

and do not vote or appear to vote in an election during the period beginning on the date of the

notice and ending on the day after the date of the second general election for Federal office that

occurs after the date of the notice.” KRS 116.112(5). Judicial Watch and the United States agreed

to this in Paragraph 25 of the Consent Judgment. Thus, the inactive list created and maintained by

SBE at issue in the KDP lawsuit improperly included voters who have only received a confirmation

notice mailing but had not yet failed to vote in an election during the period between the date of

the notice and ending on the day after the second general election for federal office. As a result,

SBE removed from the list of registered voters disseminated to the public and attempted to impose

illegal barriers on their ability to vote. Because the Section 8(d)(2) Notices were mailed in June

2019, none of the voters on the SBE’s “inactive list” could have possibly failed to appear to vote

in two federal general elections as the next federal general election will take place in November

2020, then again in November 2022. The Secretary of State’s correct interpretation of Kentucky

law was recently affirmed by the Franklin County Circuit Court, which held in the Kentucky

Democratic Party v. Grimes et al. lawsuit that SBE must return the Kentucky voters who received

and have not responded to the Section 8(d)(2) Notice to active registration. As such, the Secretary

of State’s correct interpretation of Kentucky law regarding the SBE’s maintenance of an improper

inactive list cannot give rise to a violation of the Consent Judgment as the Consent Judgment is

premised on the same provisions of Kentucky law that the Franklin Circuit Court recently held




2
  The inactive list created by the SBE also violated Federal law. Federal law defines “inactive voters” as “registrants
who have been sent but have not responded to a confirmation mailing sent in accordance with 42 U.S.C. 1973gg-6(d)
and have not since offered to vote.” CFR § 9428.2(d). Thus, contrary to the assertions of Judicial Watch, the federal
regulations do not say that an “inactive voter” is simply a voter that has received a confirmation mailing; an “inactive
voter” must also not appear to vote after receipt of the confirmation mailing.


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were properly interpreted by the Secretary of State.

IV.    There Is No Justiciable Controversy Before This Court Concerning The Maintenance
       Of Inactive Lists Or Removal Of Voters Pursuant To Section 8 Of The NVRA.

       In any event, the Parties’ disagreement regarding the interpretation of law relating to

maintenance of inactive lists presents a hypothetical legal issue that is not related to a dispute over

the express language of the Consent Judgment. Federal courts can only consider issues presenting

actual cases or controversies and “are not permitted to render advisory opinions,” Bigelow v. Mich.

Dep't of Nat. Res., 970 F.2d 154, 157 (6th Cir. 1992) (quoting Adcock v. Firestone Tire and Rubber

Co., 822 F.2d 623, 627 (6th Cir. 1987)). No actual case or controversy will arise with respect to

maintenance of an inactive list until two Federal elections have passed, and the SBE is triggered

by Kentucky law to place voters on an inactive list. Any decision rendered regarding the

maintenance of an inactive list prior to this occurrence would constitute an impermissible advisory

opinion.

       Judicial Watch asks the Court to order that a voter registration be “immediately cancelled”

after a Section 8(d)(2) Notice is not responded to and two consecutive general federal elections

have taken place without voter activity. (See DE 45-14.) No legal authority permits the amendment

of the Consent Judgment to include this language. Such an amendment would also be unnecessary

as the Consent Judgment already requires the SBE to “implement a general program of statewide

voter list maintenance that makes a reasonable effort to … remove the names of registrants who

have become ineligible under Section 8 of the NVRA.” (DE 39, at ¶ 31.) The Consent Judgment

limits removal to circumstances that include “the registrant (a) failing to respond to a forwardable

notice sent by the Kentucky State Board of Elections or its designee, which meets the requirements

of section 8(d)(2) of the NVRA and KRS § 116.112(3), and (b) failing to vote or appear to vote

during the period ending on the day after the second federal general election subsequent to the



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notice being sent.” (DE 39, at ¶ 31(e).) Altering this language by further order of the Court is

unwarranted. See Landrum, Case No. 90-475, 1992 U.S. Dist. LEXIS 13466, at *30 (“It is widely

recognized that a consent decree is to be construed for enforcement purposes basically as a contract

and interpreted by reference to the four corners of the document itself.”)

       Furthermore, the SBE has not failed to remove registrations of voters who have both

received a Section 8(d)(2) Notice and failed to vote or appear to vote for two federal general

elections. Voters who received and failed to respond to the Section 8(d)(2) Notices mailed in June

2019 will be eligible for removal after the November 2022 federal general election, which is well

within the current effective period of the Consent Judgment. Thus, this Court can resolve any

disputes related to the SBE’s failure to remove voters in accordance with Section 8(d)(2) beginning

in 2022, when those issues will be ripe for determination.

       Because no voter registrations are currently eligible for removal pursuant to Section

8(d)(2), there is no potential harm to Judicial Watch or the United States, and nothing for this Court

to adjudicate. As such, Judicial Watch’s motion is not ripe for adjudication and must be denied.

V.     The Secretary Of State Never Instructed SBE Staff To Differentiate Among
       Registrants Who Were Mailed 8(d)(2) Notices.

       Judicial Watch and the United States both rely on the unsubstantiated hearsay of the SBE’s

Assistant Executive Director and General Counsel Jennifer Scutchfield to assert that “the SBE, at

the direction of the Secretary of State, is treating certain registrants who were mailed Section

8(d)(2) notices differently, depending on whether their notice was returned as deliverable or not.”

(DE 45, United States’ Statement of Support, at 2.) In support of their position, Judicial Watch

cites the Declaration of Robert Popper in which he swears by penalty of perjury that

       Jenni Scutchfield, counsel for the Kentucky State Board of Elections, has told me
       that Secretary Grimes has directed that if address confirmation notices sent to voters
       pursuant to 52 U.S.C. § 20507(d)(2) are never returned, then the registrants to



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       whom those notices were sent are not processed further. That means they are not
       designated inactive, nor are they put “on the clock” for removal after two more
       general federal elections. Effectively, nothing happens to those registrations.

(Exh. 1 to Judicial Watch Motion, Popper Decl., at ¶ 4.) Popper further states that “Scutchfield

told me that address confirmation mailings that are returned as ‘undeliverable’ or with some

similar postal designation are processed under the NVRA.” (Id., at ¶ 5.)

       The unsubstantiated and unreliable hearsay of Scutchfield is incorrect and should be

disregarded. The Secretary of State never directed SBE staff to treat registrants who received a

Section 8(d)(2) notice differently. Such an allegation is also nonsensical because HB 114 stripped

her of her power and control over the SBE. Courts in other jurisdictions have refused to consider

hearsay testimony contained in affidavits when ruling on a motion to enforce a consent decree. See

S. Med. Corp. v. Liberty Mut. Ins. Co., 454 S.E.2d 180, 182 (1995) (stating “affidavits and

statements filed in the trial court referred to matters which were clearly hearsay” and that the

"hearsay contained in the affidavits cannot be considered.”); Boyd v. Bechtel Corp., 485 F. Supp.

610, 621 n.18 (N.D. Cal. 1979) (“Many of the allegations contained in the affidavits are based

upon hearsay … such testimony cannot readily be considered by the Court as ‘factual’ support.”)

Hearsay is a statement that “the declarant does not make while testifying at the current trial or

hearing and a party offers in evidence to prove the truth of the matter asserted.” FRCP 801(b).

Here, the statements attributed to Scutchfield by Popper in his affidavit are clearly hearsay as (1)

the statements were not made by Scutchfield while testifying in any capacity and (2) Judicial

Watch seeks to use Scutchfield’s statements to prove the Secretary of State directed SBE staff to

treat undeliverable and non-returned Section 8(d)(2) Notices differently. Scutchfield’s statements

are incorrect, inadmissible, and should be disregarded by the Court.




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                                        CONCLUSION

       For the foregoing reasons, this Court should not extend or modify the Consent Judgment.

Moreover, the Secretary of State reserves her right to an evidentiary hearing prior to any

modification of the Consent Judgment.

                                                    Respectfully submitted,

                                                    /s/ Daniel J. O’Gara
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                                                    Elections Official


                                CERTIFICATE OF SERVICE

       I hereby certify that on November 18, 2019, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will send a notice of the electronic filing to all
counsel of record.

                                                    /s/ Daniel J. O’Gara
                                                    Counsel for Defendant Alison Lundergan
                                                    Grimes, in her official capacity as Chief
                                                    Elections Official




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